         Case 1:17-cr-00232-EGS Document 218 Filed 06/10/20 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                          Crim. No. 17-232 (EGS)

       v.

MICHAEL T. FLYNN,

               Defendant.


             MOTION FOR ADMISSION PRO HAC VICE OF JEROME C. ROTH

       Pursuant to Criminal Local Rule 44.1(d) of the Local Rules of this Court, Elaine J.

Goldenberg, undersigning sponsor counsel, respectfully moves this Court for the admission pro

hac vice of Attorney Jerome C. Roth, of Munger, Tolles & Olson LLP, to represent amici curiae

The Steady State and Former National Security Officials in the above-captioned case. The

movant, Elaine J. Goldenberg, is a member in good standing of the United States District Court

for the District of Columbia and has entered her appearance in this matter.

       This motion is accompanied by a declaration from Mr. Roth, attached hereto as Exhibit

A, providing the information required by Rule 44.1(d). A [Proposed] Order is attached hereto as

Exhibit B.
       Case 1:17-cr-00232-EGS Document 218 Filed 06/10/20 Page 2 of 3



DATED: June 10, 2020             Respectfully submitted,



                                 /s/ Elaine J. Goldenberg
                                 Elaine J. Goldenberg (DC Bar No. 478383)
                                 MUNGER, TOLLES & OLSON LLP
                                 1155 F Street, NW
                                 Seventh Floor
                                 Washington DC, 20004
                                 Tel.: (202) 220-1100
                                 Fax: (202) 220-2300
                                 elaine.goldenberg@mto.com

                                 Attorneys for Amici Curiae The Steady State and
                                 Former National Security Officials
         Case 1:17-cr-00232-EGS Document 218 Filed 06/10/20 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2020, I electronically filed the foregoing MOTION

FOR ADMISSION PRO HAC VICE OF JEROME C. ROTH with the Clerk of the Court

using the CM/ECF system which will send notification of such filing to all registered

participants.



                                                /s/ Elaine J. Goldenberg
                                                Elaine J. Goldenberg
        Case 1:17-cr-00232-EGS Document 218-1 Filed 06/10/20 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                            Crim. No. 17-232 (EGS)

       v.

MICHAEL T. FLYNN,

               Defendant.


DECLARATION OF JEROME C. ROTH IN SUPPORT OF MOTION FOR ADMISSION
                          PRO HAC VICE

       I, Jerome C. Roth, declare the following:

       1.      My full name is Jerome C. Roth. I am an attorney with the law firm of Munger,

Tolles & Olson LLP.

       2.      My business address is:

                       Munger, Tolles & Olson LLP
                       560 Mission Street, 27th Floor
                       San Francisco, CA 94105
                       Tel.: (415) 512-4000
                       Fax: (415) 512-4077
                       jerome.roth@mto.com

       3.      I am a member in good standing of the State Bars of California (Bar Number

159483) and New York. Additionally, I have been admitted to practice in the following courts:

(a) United States District Court for the Northern District of California, (b) United States District

Court for the Eastern District of California, (c) United States District Court for the Central

District of California, (d) United States District Court for the Southern District of California, (e)

United States District Court for the Southern District of New York, (f) United States District

Court for the Eastern District of New York, (g) United States Court of Appeals for the First

Circuit, (h) United States Court of Appeals for the Second Circuit, (i) United States Court of
        Case 1:17-cr-00232-EGS Document 218-1 Filed 06/10/20 Page 2 of 2



Appeals for the Fourth Circuit, (j) United States Court of Appeals for the Fifth Circuit, (k)

United States Court of Appeals for the Sixth Circuit, (l) United States Court of Appeals for the

Seventh Circuit, (m) United States Court of Appeals for the Ninth Circuit, (n) United States

Court of Appeals for the Tenth Circuit, and (o) Supreme Court of the United States.

       4.      I have not been disciplined by the bar of any state or court.

       5.      I have not been admitted pro hac vice in this Court within the last two years.

       6.      I am not engaged in the practice of law from an office located within the District

of Columbia. I am not a member of the District of Columbia Bar. I do not have an application

for membership pending with the District of Columbia Bar.

       I declare under the penalty of perjury that the foregoing is true and correct to the best of

my knowledge.


DATED: June 10, 2020                       Respectfully submitted,




                                           Jerome C. Roth
                                           MUNGER, TOLLES & OLSON LLP
                                           560 Mission Street, 27th Floor
                                           San Francisco, CA 94105
                                           Tel.: (415) 512-4000
                                           Fax: (415) 512-4077
                                           jerome.roth@mto.com

                                           Attorneys for Amici Curiae The Steady State and
                                           Former National Security Officials
        Case 1:17-cr-00232-EGS Document 218-2 Filed 06/10/20 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                         Crim. No. 17-232 (EGS)

       v.

MICHAEL T. FLYNN,
               Defendant.


 [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE OF
                        JEROME C. ROTH

       On the Motion of Elaine J. Goldenberg, counsel for amici curiae The Steady State and

Former National Security Officials, for an order admitting Jerome C. Roth to appear pro hac

vice, and for good cause shown;

       IT IS HEREBY ORDERED, that the Motion for Admission Pro Hac Vice is GRANTED

and that Jerome C. Roth is admitted pro hac vice to appear and participate in the above-

captioned case.


DATED this _______ day of _______, 2020


                                             _______________________________
                                             The Honorable Emmet G. Sullivan
                                             United States District Court Judge
